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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           Case No. 20-CV-24870-BLOOM/Otazo-Reyes



 RANIERO GIMENO,
   Plaintiff,

 v.

 NCHMD, INC., and NCH
 HEALTHCARE SYSTEM, INC.,
      Defendants

 ______________________________/

            PLAINTIFF’S MEMORANDUM IN RESPONSE TO MOTION TO DISMISS

         After attempting to convert Plaintiff’s state law action into a Federal ERISA action by their

 removal notice, Defendants are now seeking to dismiss the action they say is founded upon ERISA

 for failing to state an ERISA claim. Effectively, Defendants have ‘towed the case into the federal

 harbor only to try to sink it once it is in port,” a maneuver referred to as an “ERISA two-step.”

 Merryman v. Provident Life and Accident Insurance Company, 2007 WL 776627 (M.D. Fla. 2007);

 Berg v. Life Insurance Company of North America, 2009 WL 1532723 (M.D. Fla. 2009).

         As set out in Plaintiff’s pending Motion to Remand [docket #20], Plaintiff filed this action in

 state court upon a common law negligence basis, believing that the Defendants’ error in not

 providing an evidence of insurability form to Dr. Justin Polga when decedent Dr. Polga applied for

 the employee paid optional life insurance (resulting in denial of the years later life insurance benefit

 to decedent’s spouse) was pure human resources negligence and that the optional life insurance

 was not necessarily an “employee benefit plan” given that it was employee paid without employer

 financial participation and that the error was not the insurance company’s but was rather the

 Defendants’.



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        Defendants’ “alternative” description of this action insists, however, that this is solely and

 only an ERISA claim, and that any common law negligence claims are completely or defensively

 preempted under ERISA. Yet, while Defendants ask this Court to dismiss this action, Defendants

 do not assert that Plaintiff has no remedy or that the requested dismissal should be without leave

 to amend. Indeed, Defendants’ motion states to the contrary at page 8 that “Plaintiff could have

 brought this lawsuit under ERISA §502(a),” that Plaintiff’s claim in this lawsuit unequivocally seeks

 the type of recovery that ERISA provides for,” and that “Plaintiff has standing under ERISA §502(a)

 as a beneficiary.”

        A motion to dismiss is appropriate when it appears “beyond a reasonable doubt” that the

 Plaintiff can prove no set of facts to support his claim. Merryman, supra, citing Conley v. Gibson,

 355 U.S. 41, 45-46 (1957); South Florida Water Mgt. Dist. v. Montalvo, 84 F.3d 402, 406 (11th

 Cir.1996). Here the Defendants spell out in their motion to dismiss exactly how this Plaintiff could

 assert a claim under ERISA if this is accepted to be an ERISA matter..

        Accordingly, while Plaintiff does not wish to abandon his Motion to Remand, believing that

 the case should be remanded upon the grounds therein stated,1 if this is, in fact, solely and only

 an ERISA claim–as Defendants insist–and as may be determined to be so by this Court’s denial

 of the Motion to Remand and acceptance of ERISA subject matter jurisdiction, then Plaintiff asks

 this Court to either consider the allegations contained in the verified complaint to be sufficient to

 withstand the motion to dismiss–as the District Court did in the Berg case (even though the

 acronym ERISA was not present but because as here the relief sought would be the same under



        1
           “When an action is removed from state court, the district court first must determine whether
 it has original jurisdiction over the plaintiff's claims. See Cabalceta v. Standard Fruit Co., 883 F.2d
 1553, 1556–57 (11th Cir.1989), cited in Univ. of S. Alabama v. Am. Tobacco Co., 168 F.3d 405,
 410 (11th Cir. 1999)

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 ERISA)–or permit this Plaintiff to amend his complaint to meet the ERISA elements spelled out in

 Defendants’ Motion to Dismiss2 so that this Plaintiff is not denied any remedy.3

        WHEREFORE, upon the foregoing (and the grounds set out in the Plaintiff’s Motion to

 Remand), Plaintiff prays that this Court either deny the Motion to Dismiss (should this case not be

 remanded) or permit the Plaintiff to amend this action to state the claim under ERISA, as

 Defendants’ motion states can be done.


                                                Respectfully submitted,
                                                /s/ Sherryll Martens Dunaj
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                                    CERTIFICATE OF SERVICE
        I hereby certify that on January 12, 2021, the foregoing has been served via CM/ECF upon
 the following: Tammie Rattray, trattray@fordharrison.com, , David Kalteux,
 dkalteux@fordharrison.com, and Matthew Grabell, mgrabell@fordharrison.com, of Ford Harrison
 LLP, 101 E. Kennedy Blvd., Tampa, FL 33602.
                                               /s/______________________________
                                               Sherryll Martens Dunaj




        2
          This was the result in Butero v Royal Maccabees Life Ins. Co, 174 F.3d 1207 (11th Cir.
 1999) where the plaintiffs’ motion to remand was denied and the Court affirmed dismissal of the
 state law claims allowing the plaintiff to refile their state law claims under ERISA.
        3
          Plaintiff is mindful of Local Rule 15.1's requirements and asks this Court to allow Plaintiff
 to await this Court’s ruling upon the Motion to Remand before moving to amend should remand be
 denied.

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